Case 4:14-cv-00242-O Document 29 Filed 05/27/14 Page 1 of 6 Page|D 190

IN THE UN]TED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

BETH CHANEY MACNEILL,
PLAIN TlFF

V. CIVIL ACTION NO. 4-14CV-242-0
NIRMAL JAYASEELAN, M_D_;
DOMINGO K. TAN, M.D.; CHAD
CARLTON, M.D.; TEXAS HEALTH
HARRls METHODIST HOSPITAL
FORT WORTH; EMERGENCY
MEDICINE CoNsULTANTs LTD;
BAYLOR ALL sAlNTs MEDICA
CENTER AT FoRT WORTH

AND EMCARE, INC.

WJ&C?JW>CO=COICMCOJEOOCODO€?JDU>MEOUW>OOJUO'JEOJ

DEFENDANTS

RULE 12@)(6) MOTION TO DISMISS FOR FAILURE TO STATE
A CLAlM UPON WHICH RELlEF CAN BE GRANTED OF DEFENDANT
()F DOMINGO K. TAN. M.D.
TO THE HONORABLE UNTTED STATES DISTRICT JUDGE:
COMES NOW, DOMINGO K. TAN, M.D., one of the Defendants in the above entitled
and numbered cause, (hereinafter referred to as “Tan”), and moves to dismiss the Plajntif[’s
claims against him pursuant to Rule 12(b)(6), Federal Rules of Civil Procedul'e, for failing to

state a claim upon Which relief can be granted, and Would respectfully show this Honorable

Ccurt The following

Ru]e lZ(b)(G) Motion to Dismiss For Failure to State A Claim Upon Which Page 1
Relief Can Be Granted of Defendant Domingo K. Tan, M.D.

Case 4:14-cv-OO242-O Document 29 Filed 05/27/14 Page 2 of 6 Page|D 191

I.
BACKGROUND

In the Plaintift`s Amended Complaint, allegations are made against Tan premised on
violations of the Emergency Medical Treatrnent and Active Labor Act, 42 U.S.C.A. §1395dd,
(see Paragraph 3.2 of Plaintiff’s Amended Complaint), and on negligence (see Paragraphs 3.2,
11.0, 11.1, 11.2, 11.3, and 11.4) of Plaintiff’s Amended Complaint for failing to perform an
alleged emergent surgery and for transferring the Plaintiff When she needed Such surgery.
Plaintiff does not claim that Tan committed any Willful, Wanton or gross negligence in her
Amended Complaint.

Il.
RELIEF REOUESTE])

Pursuant to Ruie 12(b)(6), Federal Rules of Civil Procedure, Defendant requests that the
Plaintiff’s claims against him be dismissed for failure to state a claim upon Which relief can be
granted. ln support thereof, Defendant Would make the arguments noted below.

III.

EMERGENCY MEDICAL TREATMENT AND LABOR ACT (“EMTALA”)

The Plaintiff admits in her Amended Complaint that she presented to the Baylor All
Saints Medical Center Emergency Room in septic shock, and that her medical condition Was
emergent. (see Paragraphs 4.5, 4.7 of the Plaintiff’s Amended Complaint). The Plaintiff also
admits that 'l`an evaluated her and began to prepare her for an operative exploration by
requesting a bariatric consultation from Dr. Chad Carlton, M.D., Who also later evaluated the

Plaintiff, but did not perform surgery. (see Paragraph 4.8 of the Plaintift’s Amended Complaint).

Rule 12(b)(6) Motion to Dismiss Fnr Failure to State A Claim Upoo Which Page 2
Relief Can Be Granted of Def`endaut Domingo K. 'I`an, M.D.

Case 4:14-cv-OO242-O Document 29 Filed 05/27/14 Page 3 of 6 Page|D 192

Plaintiff also admits that Tan provided emergency medical services to her. (see Paragraph 1.2,
Plaintiff’s Amended Complaint).

Tan would show that EMTALA was enacted to prevent patient dumping_, and Was never
intended to be used as a federal malpractice statute EMTALA imposes only a limited duty on
hospitals with emergency rooms; it is not a substitute for state-law malpractice actions. By the
terms of the statute, a private cause of action on behalf of the Plaintiff is not available against
Tan. There are no allegations in the Plaintift’s Amended Complaint giving rise to a plausible
inference that Tan was, or is, a participating hospital as required by EMTALA. For the above
and foregoing reasons, Tan is entitled to a dismissal of the Plaintiff’s claims against him under
Federal Rule of Civil Procedure lZ(b)(6).

IV.

EMERGENCY lVIEDICAL CARE

 

Alternatively, the Plaintiff asserts claims of negligence against Defendant Tan. The
Plaint`n‘§t` has admitted that Tan was performing emergency medical care to her while her medical
condition was emergent after she presented to the emergency room of the Baylor All Saints
Medical Center. Section 74.153, Texas Civil Practice & Remedies Code, provides that a
claimant claiming a health care liability claim against a physician for injuries arising out of
emergency medical care must prove that the treatment or lack of treatment by the physician or
healthcare provider departed from accepted standards of medical care or health care by
establishing, by a preponderance of the evidence, that the physician, with willful and wanton
negligence, deviated from the degree of care and skill that is reasonably expected of an ordinary
prudent physician or health care provider in the same or similar circumstances Tan would show

that there are no allegations against him of willful, wanton or gross negligence in the Plaintift" s

Rule 12(b)(6) Motion to Dismiss For Fai]ure to State A Claim Upon Which Page 3
Relief Can Be Granted of Defendant Domingo K. Tan, M.D.

Case 4:14-cv-OO242-O Document 29 Filed 05/27/14 Page 4 of 6 Page|D 193

Amended Complaint, only ordinary negligence Therefore, the Plaintiff has failed to state a
claim upon Which relief can be granted against Tan and her claims should be dismissed pursuant
to Federal Rule of Civil Procedure 12Cb)(6).
V.
CONCLUSION AND PRAYER

F or the reasons stated above, the Plaintift’s Amended Complaint fails to state a claim for
which relief is available against Defendant Domingo K. Tan, M.D. on its face. Accordingly, Tan
respectfully moves this Honorable Court to grant his Rule lZ(b)(6) l\/Iotion to Dismiss pursuant
to Federal Rule of Civil Procedure lZ(b)(6).

Wl-]]EREFORE, PREMlSES CONSIDERED, Defendant Domingo K. Tan, M.D.
respectfully requests that this his Rule lZ(b)(6) Motion to Dismiss be granted, that Plaintift"s
claims against him be dismissed, and that he be granted such other and further relief, both
general and special, at law or in equity, to Which he may show himself to be justly entitled to
receive.

Respectfully submitted,
DECKER, JONES, Mcl\/IACKIN,
McCLANE, HALL & BATES
Burnett Plaza, Unit 46

801 Cherry Street, Suite 2000
Fort Worth, Texas 76102

(817) 336-2400
(817) 332-3043 (Fax)

By:'

RANDY J_"HAtL

State Bar No. 08769300
rha]l@deckerj ones.com
ATTORNEYS FOR DEFENDANT_,
DOMINGO K. TAN, M.D.

Rule 12(b)(6) Motion to Dismiss For F ailure to State A Claim Upon Which Page 4
Relief Can Be Granted of Defendant Dolningo K. Tan, M.D.

Case 4:14-cv-OO242-O Document 29 Filed 05/27/14 Page 5 of 6 Page|D 194

CERTIFICATE OF SERVICE

 

I hereby certify that on May 27, 2014, I served each of the following counsel with a copy
of the foregoing Original Answer electronically through the Court’s ECF system:

Robert Hammer

Hammer & Associates

675 N. Henderson Street, Suite 300
Fort Worth, Texas 76107

Robert rhannnerlaw.com

Michael .l. Henry

Attomey at Law, P.C.

675 N. Henderson Street, Suite 300
Fort Worth, Texas 76107
henrv@henrvtexlaw.com

Jeffrey W. Ryan

Chamblee & Ryan, P.C.

2777 N. Stemmons Frwy., Suite 1157
Dallas, Texas 75207
iwrvan@chambleevan.com

Gregory P. Blaies

J ames W. Hryekewicz
Blaies &- Hightower, LLP
777 Main Street, Suite 1900
Fort Worth, Texas 76102

gregblaies@bhilaw.com
]'wh@bhilaw.com

Vernon L. Krueger

Krueger, Bell & Bailey, LLP

1701 Market Street, Suite 318, LB 18
Dallas, Texas 75202

Vernon(a;lgbbllp.com

Julie A. Medoros

Mederos PLLC

17950 Preston Rd., Suite 990
Dallas, Texas 75252

Erm@niederosattomeys.com

Rule 12(b)(6) Motion to Dismiss For Failure to State A Claim Upun Which Page 5
Relief Can Be Granted of Defendant Domiogo K. Tan, M.D.

Case 4:14-cv-OO242-O Document 29 Filed 05/27/14 Page 6 of 6 Page|D 195

Russell G. Thornton

Thiebaud, Remington, Thornton, Bailey, LLP
4800 Fountain Place 1445 Ross Ave.

Da]las, TX 75202

rthornton@trtblaw.com

aar/w

RANDY J. nhle

141.02331/386595

Rule ll(b)((i) Motion to Dismiss For Failure to State A Claim Upon Which Page 6
Relief Can Be Granted of Defendant DOmingo K. Tan._, M.D.

